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                        UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION

JEAN REYES,


     Plaintiff                                  JUDGMENT IN A CIVIL CASE

v.
                                                 CASE NO: 12-2092-STA-dkv
JOHN S. WILDER YOUTH DEVELOPMENT
CENTER, STATE OF TENNESSEE,
DEPARTMENT OF CHILDREN’S SERVICES,

     Defendant.



DECISION BY COURT. This action came to consideration before the Court. The
issues have been considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order of
Dismissal entered on August 7, 2012, this matter is hereby dismissed with prejudice.


APPROVED:


s/ S. Thomas Anderson
S. THOMAS ANDERSON
UNITED STATES DISTRICT JUDGE

August 7, 2012                                    Thomas M. Gould
Date                                              Clerk of Court


                                                   s/ Terry Haley
                                                  (By) Deputy Clerk
